        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 1 of 16




                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   NO. 3:16-CR-194
                                           :
             v.                            :   (JUDGE CAPUTO)
                                           :
FUHAI LI,                                  :   (ELECTRONICALLY FILED)
             Defendant                     :


                      GOVERNMENT’S MOTION IN LIMINE
                     TO ADMIT PATIENT MEDICAL RECORDS

I.    INTRODUCTION

      On October 17, 2017, a federal grand jury returned a 32-count Superseding

Indictment charging the defendant, Fuhai Li (the defendant), with various violations

of federal law. Counts 1 through 23 charge violations of 21 U.S.C. § 841(a)(1), for the

defendant’s distribution and dispensing of controlled substances outside the usual

course of professional practice and not for a legitimate medical purpose. Count 24

charges a violation of 21 U.S.C. § 841(a)(1), for the defendant’s distribution and

dispensing of a controlled substance resulting in serious bodily injury and death of a

person. Count 25 charges a violation of 21 U.S.C. § 861(f), for the defendant’s

distribution and dispensing of a controlled substance to a pregnant individual.

Counts 26 and 27 charge violations of 21 U.S.C. § 856(a)(1), for the defendant’s

maintaining locations at 104 Bennett Avenue, Suite 1B, Milford, Pennsylvania, and

200 3rd Street, Milford Pennsylvania, for the purpose of unlawfully distributing

controlled substances. Counts 28 and 29 charge violations of 18 U.S.C. § 1957, for
                                           1
          Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 2 of 16




the defendant’s engaging in monetary transactions in property derived from a

specified unlawful activity. Counts 30 through 32 charge violations of 26 U.S.C. §

7201, for the defendant’s tax evasion. The 27-page Superseding Indictment, which

includes a detailed recitation of facts supporting the charges, also includes a

forfeiture allegation seeking forfeiture of various property and U.S. Currency. (See

MDPA 3-cr-16-194, Doc. 47). 1

      The criminal charges stem from the defendant’s medical practice from August

2011 through January 2015. During those years, the defendant treated hundreds of

patients who said they were suffering from pain. Notably, he treated the vast

majority of these patients by writing prescriptions for Schedule II controlled

substances. In discovery, the Government provided the defendant with the same

mirror image of his electronic medical files seized from his practice on January 27,

2015. A jury trial is scheduled to begin on May 1, 2018.

      Counts 26 and 27 of the Superseding Indictment allege that the defendant

maintained drug-involved premises at two locations where he conducted his medical

practice in Milford, Pennsylvania. 2 The defendant’s treatment of all patients, not




      1   The defendant was first charged in a 24-count Indictment returned by a
federal grand jury on July 20, 2016. (See MDPA 3-cr-16-194, Doc. 1).

      2  Count 26 specifically identifies the defendant’s office address at 104
Bennett Avenue, Suite 1B, Milford, Pike County, Pennsylvania. Count 27 specifically
                                           2
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 3 of 16




only the ones specifically identified in Counts 1 through 25 of the Superseding

Indictment, is relevant evidence in addressing the crimes alleged in Counts 26 and

27. Accordingly, the Government will introduce evidence in the form of witness

testimony from several former patients, as well as all medical files reviewed by the

Government’s expert medical witness, Dr. Stephen Thomas.


II.   FACTUAL BACKGROUND

      The defendant treated hundreds of patients from 2011 through January 2015.

In conjunction with that treatment, the defendant created and maintained electronic

medical files for each patient. The defendant noted the medical files to document

how he treated the patients. He instructed his staff to make notes in the same files

about their interaction with the patients, and his staff did that. Accordingly, the

medical files are filled with documentation about how the defendant interacted with,

and his treatment of, the patients. The medical files record things the patients said

to the defendant; this includes statements about their injuries, their pain, the impact

of their medication, medical events in their lives, and events in their personal lives.

The medical files also record things the defendant observed about the patients, as




identifies the defendant’s office address at 200 3rd Avenue, Milford, Pike County,
Pennsylvania.

                                            3
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 4 of 16




well as things the defendant said to the patients about their pain, their medication,

and their treatment.

      These medical files played an important role in guiding the defendant's

prescribing to his patients. The medical records were electronically stored in the

defendant's offices, first on Bennett Avenue and then on 3rd Street in Milford, and

they were “updated” when a patient attended a medical appointment. The defendant

also had access to the electronic medical files from outside the office, for example,

from his residences. The DEA seized these medical files pursuant to a federal search

warrant on January 27, 2015.

      A review of the electronic medical files demonstrates that some of the patients

seeking treatment for pain signed a Controlled Substances "Responsibility

Agreement." The "Responsibility Agreement" purported to establish the ground rules

for treatment by the defendant. A review of the electronic medical files also

demonstrates that many of the patients seeking treatment for pain submitted urine

drug screens during their office visits (hereinafter the "lab reports"). The lab reports

provided information to the defendant about at least four things. First, if the patient

was taking the controlled substance(s) he was prescribing. Second, if the patient was

taking a controlled substance that was illegal (e.g., cocaine). Third, if the patient was

taking a controlled substance that could be prescribed, but one that the defendant

was not prescribing (e.g., Valium). Fourth, if the patient has apparently tampered

with the urine sample.
                                            4
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 5 of 16




      The lab reports disclosed test results to the defendant, either showing that the

patient was taking the controlled substance he or she was prescribed by the

defendant, or that the patient was not taking a controlled substance prescribed by

the defendant, or was taking an illegal substance, or was taking a controlled

substance not prescribed by the defendant. A comparison of the (a) notes in the

medical file documenting treatment of the patient; (b) results of the patient's urine

drug screen; and (c) the "Responsibility Agreement," shows the defendant frequently

and blatantly ignored the very rules he purportedly established for his patients. For

several patients on several occasions, the defendant read lab reports that reported

inconsistent lab results, and yet the defendant often did nothing about it (i.e., he

continued to prescribe them with a variety of controlled substances). This pattern

was identified by Dr. Stephen Thomas, an expert witness for the Government, as one

of many key factors in his conclusion that the defendant was writing prescriptions

that were outside the usual course of professional practice and not medically

legitimate. This pattern is proof of the defendant's violations as alleged in all Counts

of the Superseding Indictment.

      The Government submits there are multiple legal bases to support the

admission of the medical files without corresponding patient testimony. First, the

medical files are business records, which are admissible under Federal Rule of

Evidence 803(6). This approach places the medical file before the jury as substantive

evidence that can be considered for the truth of the matter asserted. Second, the
                                            5
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 6 of 16




medical files are admissible to show the impact they had on the defendant in his

prescribing controlled substances to his patients. This approach means the

statements of the patient in the medical files are not being offered for the truth of the

matter asserted therein, which means that evidence is not hearsay as defined by

Federal Rule of Evidence 801(c). This approach would place portions of the medical

files before the jury to give the jury context for what the defendant did - and failed to

do - when he treated his patients. Further, the documented statements of the

defendant and his staff that are contained in the medical files were made in response

to his patients. These documented statements are admissions by a party opponent,

are not hearsay under Federal Rule of Evidence 801(d)(2), and are admitted as

substantive evidence.


III.   LEGAL DISCUSSION

       The United States Supreme Court has defined what is -- and what is not -- a

testimonial statement under the Sixth Amendment. The Supreme Court cases, and

especially the recent decision in Ohio v. Clark, 135 S.Ct. 2173 (2015), clearly

establish that medical records are not testimonial hearsay because their primary

purpose is assisting the treatment of medical patients. In Clark, the Supreme Court

noted “[w]e have never suggested, however, that the Confrontation Clause bars the

introduction of all out-of-court statements that support the prosecution’s case.

Instead, we ask whether a statement was given with the ‘primary purpose of creating


                                            6
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 7 of 16




an out-of-court substitute for trial testimony.’” Id. at 2183. (internal citation

omitted). The primary purpose of the defendant’s medical records was the treatment

of his patients in his medical offices; accordingly, there is no Sixth Amendment

violation when those records are introduced without corresponding patient

testimony.

      a) Business Records Exception

      Hearsay is an out-of-court statement that is offered at trial, or other

proceeding, to prove the truth of the matter asserted. Fed. R. Evid. 801(c). To be

admitted at trial as substantive evidence, an out-of-court statement must be exempt

from the hearsay rule, see Fed. R. Evid. 801(d), or fall within an exception to the

hearsay rule, see Fed. R. Evid. 803, 804, and 807. In a criminal trial, hearsay must

also overcome a second hurdle, the Sixth Amendment's Confrontation Clause. That

clause reads "In all criminal prosecutions, the accused shall enjoy the right . . . to be

confronted with the witnesses against him."

      The medical files are admissible as business records under Fed. R. Evid.

803(6), and they do not violate the Confrontation Clause. Business records that are

the "record of an act, event, condition, opinion, or diagnosis" are admitted at trial as

an exception to the hearsay rule if:

             (A)    the record was made at or near the time by – or from
                    information transmitted by – someone with
                    knowledge;



                                            7
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 8 of 16




             (B)    the record was kept in the course of a regularly
                    conducted activity of a business, organization,
                    occupation, or calling, whether or not for profit;

             (C)    making the record was regular practice of that
                    activity;

             (D)    all these conditions are shown by the testimony of a
                    custodian or other qualified witness….; and

             (E)    the opponent does not show that the source of
                    information or method or circumstances of
                    preparation indicates a lack of trustworthiness.

        There is no question the defendant's medical files are business records that

meet the requirements of subsections (A) through (E).

      ln Crawford v. Washington, 124 S.Ct. 1354 (2004), the Supreme Court

reviewed a case where the petitioner stabbed a man (Kenneth Lee) who allegedly

raped his wife (Sylvia). At the trial, the wife refused to testify on the grounds of state

marital privilege, and the prosecution therefore played a tape-recorded statement

where the wife (Sylvia) described the stabbing. Id. at 1357-58. The question the case

presented on appeal was whether the procedure complied with the Sixth

Amendment's Confrontation Clause. Id. Crawford found the procedure violated the

Sixth Amendment because "[w]here testimonial evidence is at issue . . . the Sixth

Amendment demands what the common law required: unavailability and a prior

opportunity to cross-examine." Id. at1374.

      The Crawford Court explained "[w]e leave for another day any effort to spell

out a comprehensive definition of testimonial. Whatever else the term covers, it
                                             8
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 9 of 16




applies at a minimum to prior testimony at a preliminary hearing, before a grand

jury, or a former trial; and to police interrogations." Id. In discussing the issue of

admissible versus inadmissible hearsay, the Crawford Court also noted that "[m]ost

of the hearsay exceptions covered statements that by their nature were not

testimonial - for example, business records[.]” Id. at 1367.

      In the aftermath of Crawford, and in the absence of “a comprehensive

definition of testimonial” hearsay from the Supreme Court, district and appellate

courts grappled with the question of whether evidence should be admitted or

excluded under the Sixth Amendment's Confrontation Clause.

      The decision in Crawford was discussed and explained in a number of other

Supreme Court decisions from 2006 to the present, cases that include Davis v.

Washington and Hammon v. Indiana, 547 U.S. 813 (2006), Worton v. Bockting, 549

U.S. 406 (2007), Melendez-Diaz v. Massachusetts, 129 S.Ct. 2527 (2008), Michigan v.

Bryant, 1143 S.Ct. (2011), Bullcoming v. New Mexico, 131 S.Ct. 2705 (2011), and

Ohio v. Clark, 135 S.Ct. 2173 (2015).

      In Clark, teachers discovered marks on the body of L.P., who was a 3-year-old

boy. The teachers asked L.P. who did this and what happened, and L.P. answered

"something like Dee, Dee." The defendant's nickname is "Dee." At trial, the

prosecution introduced the statements of L.P. to his teacher, but L.P. did not testify.

The defendant was convicted and appealed. 135 S.Ct. at 2177-78. The issue in Clark

was whether the Sixth Amendment's Confrontation Clause prohibited prosecutors
                                            9
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 10 of 16




from introducing those statements when the child was not available to be cross-

examined." Clark held there was no Confrontation Clause violation under these

facts. Id. At 2177.

      After reviewing the decisions in Crawford, Davis, Hammon, and Bryant, the

Clark Court noted that "under our precedents, a statement cannot fall within the

Confrontation Clause unless its primary purpose was testimonial. “Where no such

primary purpose exists, the admissibility of a statement is the concern of the state

and federal rules of evidence, not the Confrontation Clause.” Id. at 2180 (quoting

Michigan v. Bryant). The Clark Court explained the case presented "the question we

have repeatedly reserved: whether statements to persons other than law enforcement

officers are subject to the Confrontation Clause . . . considering all the relevant

circumstances here, L.P.'s statements were not made with the primary purpose of

creating evidence for [defendant] Clark's prosecution. Thus, their introduction at

trial did not violate the Confrontation Clause." Id. at 2181. The Clark Court

observed "[s]tatements made to someone who is not principally charged with

uncovering and prosecuting criminal behavior are significantly less likely to be

testimonial than statements given to law enforcement officers," and stressed that

"[c]ourts must evaluate challenged statements in context, and part of that context is

the questioner's identity." Id. at 2l82.

      Turning to the present case, the primary purpose of the medical files was to

assist the defendant in his work as a doctor. He used these files in the treatment of
                                           10
         Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 11 of 16




his pain patients from 2011 through January 2015. The medical records were

created and maintained as part of the defendant's business. The defendant and his

staff documented their treatment of the patients in the files. The defendant stored

the electronic patient files in his office because they were an integral part of his

work.

        Clark emphasized that courts should look at "the questioner's identity" in

determining whether a statement is testimonial. Here, it was the defendant who was

asking the questions and the defendant’s patients who were answering those

questions. These medical files were not made in response to law enforcement

questioning, nor were they created to provide evidence at trial. The medical files

were created for the sole purpose of assisting the defendant in his practice of

medicine. As such, there is no legal basis to conclude the medical files violate the

Sixth Amendment's Confrontation Clause. The patient files should therefore be

admitted as business records regardless of whether the corresponding patient

testifies or not.

        b) Medical Files Not Offered for the Truth of the Matter Asserted

        An essential component of Rule 801(c)'s definition of hearsay is that the out-of

court statement is offered for the "truth of the matter asserted." If the out-of-court

statement is offered for another legitimate evidentiary purpose (i.e.. not the truth),

then the statement is not hearsay and is properly admitted at trial. The case law is

filled with examples where out-of-court statements were properly admitted to show
                                           11
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 12 of 16




the impact they had on the listener. See, e. g., United States v. Gaytan, 649 F.3d

573, 579 (7th Cir. 2011) ("[A] confidential informant's out-of-court statements are not

hearsay if they are offered not for the truth but to put the defendant's statement's in

context or to make what he said and did in reaction to the informant's statements

intelligible to the jury.”); United States v. White, 639 F.3d 331, 337-338 (7th Cir.

2011) (finding command in robbery demand note is not assertion of fact and therefore

not hearsay, and further, that statements in note that "I have a gun" and "no one will

get hurt" were not offered for the truth but for the effect on the teller); United States

v. Bellamo, l76 F.3d 580, 586-87 (2d Cir. 1999) (statements that person was killed

because he was dealing drugs not hearsay because offered for listener's state of mind,

not reason for murder); United States v. Nieto, 60 F .3d 1464 (10th Cir. 1995)

(instructions to defendant to take car and make drugs into squares introduced to

show impact on listener); and United States v. Lambinus, 747 F .2d 592 (10th Cir.

1984), cert. denied, 477 U.S. 1067 (1985) (statements introduced for effect on the

listener).

       If the Court rejects the use of the Business Records Exception to admit the

medical files, it should admit the files for a non-hearsay purpose: to show the impact

they had on the defendant in his treatment of pain patients. This approach would

permit the jury to see how the defendant reacted to the information he was presented

by the patient. For example, if a patient submitted an "inconsistent” urine test result

because they did not have Oxycodone in their urine - - even though the defendant
                                           12
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 13 of 16




prescribed it - - then the jury will be in a better position to evaluate whether the

defendant discharged the patient, placed the defendant on probation, or ignored the

lab result and kept prescribing Oxycodone to the patient, and whether the

defendant's actions in that regard were criminal. Anything the defendant

documented in the medical files addressing these types of patients and situations, or

anything his staff wrote in the files, is the admission of a party-opponent. That

admission is not hearsay. Fed. R. Evid. 801(d)(2)(A), (d((2)(C), and (d)(2)D), apply to

these situations and support the admission of statements as substantive evidence.

      Ultimately, the medical files place the defendant's reactions in a proper

context and make them understandable for the jury. The defendant's reaction to

information provided by, and about, his patients is fundamentally important in the

jury's evaluation of whether he was acting within the usual course of professional

practice in writing the prescriptions at issue. It will be a key factor in shaping the

jury's decision in this case. For these reasons, the medical files should be admitted to

show the impact they had on the defendant, and the defendant's statements should

be admitted as substantive evidence.

      Finally, courts have consistently held that Rule 703 articulates a firmly rooted

hearsay exception and that expert testimony based on such reliable material is

admissible in a criminal trial. See, e.g., United States v. Brown, 299 F.3d 1252, 1258

(11th Cir. 2002) (rule is firmly rooted hearsay exception), vacated on other grounds,

123 S. Ct. 1928 (2003) *38 United States v. Corey, 207 F.3d 84, 92 (1st Cir. 2000)
                                           13
        Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 14 of 16




(reliance on hearsay by law enforcement expert, who spoke to gun manufacturer with

respect to interstate nexus requirement, did not violate Confrontation Clause);

Barrett v. Acevedo, 169 F.3d 1155, 1162 n.7 (8th Cir. 1999); United States v. Abbas,

74 F.3d 506, 512-13 (4th Cir. 1996) (“the right of confrontation is not violated by an

expert's reliance on out-of-court sources where the utility of trial confrontation would

be remote and of little value to either the jury or the defendant”); Reardon v. Manson,

806 F.2d 39, 41 (2d Cir. 1986) (“[e]xpert reliance on the output of others does not

necessarily violate the confrontation clause where the expert is available for

questioning concerning the nature and reasonableness of his reliance”).

      This was true even before the enactment of the Federal Rules of Evidence. “It

has long been the rule of evidence in the federal courts that an expert witness can

express an opinion as to value even though his opinion is based in part or solely upon

hearsay sources.” United States v. Williams, 447 F.2d 1285, 1290 (5th Cir. 1971),

citing United States v. Alker, 260 F.2d 135 (3d Cir. 1958). While rejecting a

Confrontation Clause and hearsay challenge, the Fifth Circuit explained that “the

opinion of expert witnesses must invariably rest, at least in part, upon sources that

can never be proven in court. An expert's opinion is derived not only from records and

data, but from education and from a lifetime of experience. Thus, when the expert

witness has consulted numerous sources, and uses that information, together with

his own professional knowledge and experience, to arrive at his opinion, that opinion



                                           14
       Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 15 of 16




is regarded as evidence in its own right and not as hearsay in disguise.” Williams,

447 F.2d at 1290.


IV.   CONCLUSION

      Based on the facts, case law, and legal analysis detailed above, the

Government respectfully requests that Court grant the within motion in limine.

                                       Respectfully submitted,

                                       DAVID J. FREED
                                       United States Attorney


                                By:    /s/ Michelle L. Olshefski
                                       MICHELLE L. OLSHEFSKI
                                       Assistant U.S. Attorney

Dated: February 20, 2018




                                          15
       Case 3:16-cr-00194-MWB Document 86 Filed 02/21/18 Page 16 of 16




                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

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            v.                           :    (JUDGE CAPUTO)
                                         :
FUHAI LI,                                :    (ELECTRONICALLY FILED)
            Defendant                    :



                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 19th February, 2018, I caused the

foregoing “Government’s Motion in Limine to Admit Patient Medical Files” to be

served upon defense counsel Michael Weinstein and William Ruzzo, counsel of record

for the defendant, and that defense counsel are filing users under the ECF system.



                                      /s/ Michelle L. Olshefski
                                      Michelle L. Olshefski
                                      Assistant U.S. Attorney




                                         16
